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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     UNITED STATES OF AMERICA,                          Case No. 5:18-cr-00258-EJD-1
                                                        Plaintiff,                          ORDER RE OCTOBER 3, 2022
                                   9
                                                                                            HEARING
                                                 v.
                                  10

                                  11     ELIZABETH A. HOLMES,
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The October 3, 2022 hearing on Defendant Elizabeth Holmes’ motions for new trial is

                                  14   converted into a status conference. The Court intends to discuss with the Parties hearing dates as

                                  15   needed regarding Defendant’s motions for new trial. The Parties are ordered to appear at 10:00

                                  16   a.m. via zoom for the status conference.

                                  17          IT IS SO ORDERED.

                                  18   Dated: September 27, 2022

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                                                                                                   EDWARD J. DAVILA
                                  21                                                               United States District Judge
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                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER RE OCTOBER 3, 2022 HEARING
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